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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


 JAZZ PHARMACEUTICALS, INC.,           )
                                       )
                       Plaintiff,      )
                                       )    C.A. No. 22-941-GBW
       v.                              )
                                       )
 AVADEL CNS PHARMACEUTICALS,           )
 LLC,                                  )    REDACTED PUBLIC VERSION
                                       )    FILED SEPTEMBER 26, 2024
                       Defendant.      )
                                       )


    AVADEL CNS PHARMACEUTICALS, LLC’S LETTER TO THE HONORABLE
    GREGORY B. WILLIAMS REGARDING AVADEL’S OPPOSITION TO JAZZ’S
            MOTION TO COMPEL EMAIL SUPPLEMENTATION
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Dear Judge Williams,

        With its most recent motion (D.I. 158), Jazz stakes out an extraordinary position. It seeks
a one-sided discovery order that would impose on Avadel, alone, the burden of a supplemental
production of custodial documents, simultaneously depriving Avadel of reciprocal, probative
discovery on the very same topics and providing Jazz with an unfair litigation advantage. The
Federal Rules do not countenance such asymmetric discovery, least of all when founded on the
indefensible proposition that only one party’s documents are relevant. Id. at 3. Moreover, Jazz
waited until the eve of the close of fact discovery to file this motion—in yet another apparent effort
to delay resolution of this case. The Court should deny Jazz’s motion or, in the alternative, direct
both parties to make supplemental productions in the form of non-custodial “go-get” documents.

       I.      Background

       Avadel launched its once-nightly narcolepsy drug, LUMRYZ, in June 2023, approximately
eight months after Avadel filed its counterclaims in this case on October 21, 2022. D.I. 14. The
launch of LUMRYZ was no secret to Jazz, which did almost everything it could to prevent
LUMRYZ from coming to market.

        Fact discovery closes next week, and discovery has been underway for the past eighteen
months. On January 22, 2024, Avadel completed its custodial productions, which cut off in June
2023. Months later, on April 22, 2024, the parties jointly submitted a Stipulation and Proposed
Order to move the fact discovery cut-off date to September 27, 2024, and set September 20, 2024,
as the deadline for refreshing structured transactional and financial data. D.I. 88. No date was set
or otherwise discussed for the production of post-launch custodial documents from either party.
The Court entered that order the next day.

         Jazz has long known (1) about LUMRYZ’s launch and (2) that Avadel’s custodial
productions did not encompass post-launch communications. Despite this, Jazz waited until more
than a year after the launch of LUMRYZ—July 19, 2024—to request that Avadel supplement its
production with post-launch documents. See D.I. 158-1, Ex. 3 at 2. Initially, Jazz requested a
narrow set of documents. Id. (“[P]lease supplement your production to include documents,
through the present, on the effect of authorized generic and multi-source generic competition on
Avadel’s pricing for LUMRYZ and Avadel’s sales of LUMRYZ.”). The parties discussed this
request during an August 13, 2024 meet and confer. During that call, Jazz agreed to consider a
reciprocal production and identify “specific categories of documents” for collection or a limited
set of search terms that would “narrow the scope of the request.” Id. Ex. 4 at 1-2 (emphasis added).

        Instead of narrowing its request, Jazz did the very opposite. On August 30, 2024, mere
days after this Court denied Jazz’s requested permanent injunction for narcolepsy in the related
patent case, see C.A. No. 21-691-GBW, D.I. 665, and less than a month before the fact discovery
cut-off, Jazz refused, point blank, to agree to a reciprocal production and demanded a far broader
set of “post-launch” documents than the parties had ever discussed before. D.I. 158-1, Exs. 4, 5.
So eager was Jazz to bring this dispute before the Court that it did not even wait for Avadel’s
response to its August 30, 2024, letter, which Avadel said was forthcoming, before declaring that
the parties were “at impasse.” Ex. A. A meet and confer between the parties occurred on


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September 10 at Avadel’s urging. Id. Avadel proposed a reciprocal production of “go-get”
documents. D.I. 158-1, Ex. 5. Jazz insisted on a one-sided custodial production, despite Avadel’s
best efforts to find a middle ground. Id. Ex. 6 at 1-8. Jazz then filed the instant motion.

       II.     Argument

        Jazz’s effort to force Avadel to undertake a second costly and time-consuming custodial
production of documents is highly unusual. Supplemental productions, if any, normally take the
form of go-gets. See, e.g., Promotional Mktg. Insights, Inc., v. Affiliated Comput. Servs., Inc.,
2012 WL 13028115, at *3-4 (D. Minn. Sept. 19, 2012) (holding that a “blanket request for
supplementation of all responsive documents . . . is not sufficiently targeted”). Jazz’s eleventh-
hour request—made right on the cusp of the close of fact discovery and well over a year after
LUMRYZ was launched—appears calculated to bring pressure to bear on the schedule in the hopes
of pushing next year’s trial date. The Court should not countenance such transparent
gamesmanship. And while Jazz now tells the Court that any production of post-launch custodial
documents will not “necessitate new depositions, as Jazz will agree not to seek any additional
depositions based on document supplementation,” D.I. 158 at 3, that squarely contradicts what
Jazz wrote to Avadel just last week. D.I. 158-1, Ex. 6 at 5 (“Jazz will not agree not to seek
additional fact depositions based on supplemental productions.” (emphasis added)). Jazz also side-
stepped Avadel’s question about whether Jazz would agree not to seek any modification of the
existing case schedule if Avadel agreed to a custodial request. Id. at 5-6.

        Jazz’s motion is more remarkable still because it rests on such a faulty premise. The claim
that only Avadel has relevant, discoverable information is implausible on its face. And yet that
bold assertion is the centerpiece of Jazz’s motion, which insists that “Jazz’s post-June 2023
communications do not bear on any claim or defense in this case.” D.I. 158 at 1. That is wrong.

        Jazz had an oxybate monopoly from 2005 until 2023, when the first authorized generic of
XYREM arrived on the market and Jazz was finally forced to delist the ’963 patent, thus allowing
LUMRYZ to launch. D.I. 14 ¶ 41-58. How Jazz reacted to that competition is of self-evident
importance to this case. Any evidence that Jazz responded to LUMRYZ’s entry by decreasing
prices, increasing rebates, fretting about market disruption, or strategizing about how to protect its
oxybate patient base would bear on, at the very least, market definition and the harm to competition
and consumers resulting from LUMRYZ’s delayed entry. Jazz’s post-launch efforts to quantify
or project cannibalization of XYREM and XYWAV sales by LUMRYZ would be probative of
antitrust damages.

        Documents post-dating the launch of LUMRYZ are also relevant to Jazz’s defenses. For
example, Jazz has pleaded an affirmative defense that “Jazz lacks monopoly power in the relevant
product market(s) and geographic market(s)” because “[n]arcolepsy treatments other than oxybate
(including, without limitation, stimulants, depressants, and Monoamine Oxidaise Inhibitors) are
reasonably interchangeable with oxybate[.]” D.I. 99 at 65. That defense would be further laid
bare by emails or other documents written after the launch of LUMRYZ suggesting that Avadel’s
once-nightly drug or recently launched authorized generics of XYREM fill a medical need or
create market demand that is different from non-oxybate drugs.



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       The fact that both parties have relevant post-launch documents counsels in favor of, at
most, “go-get” productions. There is certainly no basis for more custodial productions.

        First, emails are far from necessary to reveal LUMRYZ’s actual market performance.
Actual sales data are, by far, the best evidence. That is why the parties agreed to a supplemental
production of transactional data in April 2024. Tomorrow, Avadel will produce data through
August 31, 2024. D.I. 88; Ex. B. Avadel also recently produced post-launch Quarterly Business
Review documents spanning October 2023 to July 2024. These documents provide information
about discontinuation rates, post-launch financial information, and overarching summaries of the
state of Avadel’s business. Far from “shield[ing]” evidence from discovery, D.I. 158 at 2, Avadel
has repeatedly offered, and remains willing, to produce targeted, post-launch data and documents
that actually bear on LUMRYZ’s market performance. Targeted, reciprocal go-get productions
would give both parties the information they need, while keeping this case on track. D.I. 158-1,
Ex. 5 at 2-4; D.I. 159. The cases Jazz cites for the proposition that Avadel must make a custodial
production are inapposite. Parks LLC v. Tyson Foods, Inc., 863 F.3d 220 (3d Cir. 2017), for
example, does not even involve a discovery dispute. The quotation Jazz pulls from this case is
part of a discussion of how courts should evaluate secondary meaning in a trademark litigation.
Id. at 235. Similarly, in Cook v. Meta Platforms, Inc., 2024 WL 3834188, at *1 (N.D. Cal. Aug.
14, 2024), the court granted a motion to compel where the defendant in a copyright action refused
to produce custodial documents in response to requests for production on the basis that “the
evidence in this case does not show that [it] has committed copyright infringement.”

        Second, Jazz’s request is extremely burdensome and disproportionate to the needs of the
case. Jazz seeks more than a year’s worth of custodial files from five Avadel employees, which
likely amounts to thousands1 of documents that will need to be reviewed for responsiveness and
privilege. This will require Avadel to onboard and train a new review team and incur significant
vendor expenses. And the belated nature of Jazz’s motion would also force Avadel to undertake
this laborious exercise on an extremely tight timeline in order to maintain the current case schedule.

        Third, Jazz’s citation to Bayer AG v. Sony Electronics, Inc., 202 F.R.D. 404, 407 (D. Del.
2001) is inapposite. Bayer is not an antitrust case. Moreover, it does not state that parties cannot
condition discovery responses on “mutual supplementation.” D.I. 158 at 3. Instead, the court held
that defendants could not condition their response to a document request they did not contest on
an agreement to make mutual productions on the same date. Bayer, 202 F.R.D. at 407.

       Finally, Jazz’s claim that it has “bent over backwards to accommodate Avadel’s own
requests” for documents dating back to 2010 is overstated at best. On August 23, 2024, Jazz
produced seventeen targeted documents that predated January 1, 2014 and related to the change in
the ’730 patent use code.

       For these reasons, Avadel requests that Jazz’s motion to compel an asymmetric production
of email communications be denied.



1
 Avadel is currently working with its document vendor to run a hit report. Given that hundreds
of gigabytes of data have to be collected and processed, this is taking some time.

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                                          Respectfully submitted,

Dated: September 19, 2024                 By: /s/ Daniel M. Silver______
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                                          Alexandra M. Joyce (#6423)
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                                          Wilmington, DE 19801
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                           EXHIBIT A
Case 1:22-cv-00941-GBW Document 173 Filed 09/26/24 Page 8 of 19 PageID #: 3752


  From:           Greeley, Christine (Bay Area)
  To:             Avi Grunfeld; Jillian Farley; HHe@mofo.com; HHuttinger@mofo.com; MoFo-Avadel-Jazz@mofo.com; #C-M
                  AVADEL ANTITRUST - LW TEAM; #C-M JAZZ PATENT LITIGATION - LW TEAM; DSilver@McCarter.com;
                  ajoyce@mccarter.com; ajoyce@mccarter.com
  Cc:             Jazz Avadel Antitrust; JTigan@morrisnichols.com; Nicolas Siebert; Jack Blumenfeld
  Subject:        RE: Jazz v. Avadel - Avadel Supplementation
  Date:           Friday, September 6, 2024 4:43:42 PM


 Hi Avi,

 We do not agree that the parties are at an impasse. We will be responding to your letter in writing
 on Monday, September 9 and will be available to confer promptly thereafter. To that end, please
 provide us with your availability for a call next week.

 Best,
 Christie

 Christine Greeley
 Pronouns: She/Her/Hers

 LATHAM & WATKINS LLP
 505 Montgomery Street | Suite 2000 | San Francisco, CA 94111-6538
 D: +1.415.395.8836




 From: Avi Grunfeld <avigrunfeld@quinnemanuel.com>
 Sent: Friday, September 6, 2024 11:04 AM
 To: Greeley, Christine (Bay Area) <Christine.Greeley@lw.com>; Jillian Farley
 <jillianfarley@quinnemanuel.com>; HHe@mofo.com; HHuttinger@mofo.com; MoFo-Avadel-
 Jazz@mofo.com; #C-M AVADEL ANTITRUST - LW TEAM <avadelantitrust.lwteam@lw.com>; #C-M
 JAZZ PATENT LITIGATION - LW TEAM <jazzpatentlitigation.lwteam@lw.com>;
 DSilver@McCarter.com; ajoyce@mccarter.com; ajoyce@mccarter.com
 Cc: Jazz Avadel Antitrust <jazzavadelantitrust@quinnemanuel.com>; JTigan@morrisnichols.com;
 Nicolas Siebert <nicolassiebert@quinnemanuel.com>; Jack Blumenfeld
 <jblumenfeld@morrisnichols.com>
 Subject: RE: Jazz v. Avadel - Avadel Supplementation

 Hi Christie,

 The parties are clearly at impasse here. In fact, during the parties’ August 13 meet-and-confer,
 Avadel already confirmed that we were at impasse with respect to Jazz’s request that Avadel
 supplement its productions to include post-launch documents without Jazz also supplementing its
 productions to include its own irrelevant post-June 2023 documents. There is no basis for Avadel to
 need any more time to respond. We would like to file the attached letter today. Please fill in the
 portion on who attended the August 13 meet-and-confer for Avadel and let us know if you have any
 proposed edits.
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  From: Jillian Farley <jillianfarley@quinnemanuel.com>
  Sent: Thursday, September 5, 2024 2:39 PM
  To: Greeley, Christine (Bay Area) <Christine.Greeley@lw.com>; HHe@mofo.com;
  HHuttinger@mofo.com; MoFo-Avadel-Jazz@mofo.com; #C-M AVADEL ANTITRUST -
  LW TEAM <avadelantitrust.lwteam@lw.com>; #C-M JAZZ PATENT LITIGATION - LW
  TEAM <jazzpatentlitigation.lwteam@lw.com>; DSilver@McCarter.com;
  ajoyce@mccarter.com; ajoyce@mccarter.com
  Cc: Jazz Avadel Antitrust <jazzavadelantitrust@quinnemanuel.com>;
  JTigan@morrisnichols.com; Nicolas Siebert <nicolassiebert@quinnemanuel.com>; Jack
  Blumenfeld <jblumenfeld@morrisnichols.com>
  Subject: RE: Jazz v. Avadel - Avadel Supplementation

  Counsel,

  We write to follow up regarding our correspondence from August 30, 2024. Please confirm
  whether Avadel will supplement its productions with post-launch documents by COB today.

  Thank you,
  Jillian

  Jillian Farley
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP

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  From: Nicolas Siebert <nicolassiebert@quinnemanuel.com>
  Sent: Friday, August 30, 2024 6:25 PM
  To: Christine.Greeley@lw.com; HHe@mofo.com; HHuttinger@mofo.com; Jack Blumenfeld
  <jblumenfeld@morrisnichols.com>
  Cc: MoFo-Avadel-Jazz@mofo.com; avadelantitrust.lwteam@lw.com;
  jazzpatentlitigation.lwteam@lw.com; DSilver@McCarter.com; ajoyce@mccarter.com; Jazz
  Avadel Antitrust <jazzavadelantitrust@quinnemanuel.com>; JTigan@morrisnichols.com
  Subject: Jazz v. Avadel - Avadel Supplementation
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  Counsel,

  Please see attached.

  Regards,

  Nic Siebert
  he/him
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP

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                           EXHIBIT B
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  From:             Thorson, Anne (CC)
  To:               Nicolas Siebert; Jillian Farley; Avi Grunfeld
  Cc:               #C-M AVADEL ANTITRUST - LW TEAM; MoFo-Avadel-Antitrust@mofo.com; DSilver@McCarter.com;
                    ajoyce@mccarter.com; Jazz Avadel Antitrust
  Subject:          RE: Jazz v. Avadel - Jazz Supplementation
  Date:             Tuesday, September 17, 2024 12:01:16 PM


  Counsel,

  Avadel will supplement its data production—including financial reporting packages, trial balance
  sheets, and sales data—through August 31, 2024. We ask that Jazz provide its data in a reciprocal
  production through August 31, 2024. If Jazz intends to produce rebate and Medigap data that
  excludes time periods through August 31, 2024, we ask Jazz provide us with a reason for doing so in
  writing.

  Best,
  Anne

  Anne Nicole Thorson*
  Pronouns: She/Her/Hers

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  *Not admitted to practice in California. Admitted in Illinois and DC.


  From: Nicolas Siebert <nicolassiebert@quinnemanuel.com>
  Sent: Friday, September 13, 2024 2:04 PM
  To: Thorson, Anne (CC) <Anne.Thorson@lw.com>; Jillian Farley <jillianfarley@quinnemanuel.com>;
  Avi Grunfeld <avigrunfeld@quinnemanuel.com>
  Cc: #C-M AVADEL ANTITRUST - LW TEAM <avadelantitrust.lwteam@lw.com>; MoFo-Avadel-
  Antitrust@mofo.com; DSilver@McCarter.com; ajoyce@mccarter.com; Jazz Avadel Antitrust
  <jazzavadelantitrust@quinnemanuel.com>
  Subject: RE: Jazz v. Avadel - Jazz Supplementation

  Hey Anne,

  Avadel asked on the call what the date cutoff was for Jazz’s supplemental data productions. With
  respect to the Invoice Data, the data runs through the end of August 2024. With respect to the
  Rebate Data, the data run through the end of July 2024. With respect to the Medigap data, the data
  run through Q2 2024. Please let us know the end points for Avadel’s supplemental data production
  as well.

  Thanks,
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  Nic Siebert
  he/him
  Associate
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  strictly prohibited. If you have received this communication in error, please notify us immediately by e-mail, and delete the original
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  From: Anne.Thorson@lw.com <Anne.Thorson@lw.com>
  Sent: Thursday, September 12, 2024 2:36 PM
  To: Nicolas Siebert <nicolassiebert@quinnemanuel.com>; Jillian Farley
  <jillianfarley@quinnemanuel.com>; Avi Grunfeld <avigrunfeld@quinnemanuel.com>
  Cc: avadelantitrust.lwteam@lw.com; MoFo-Avadel-Antitrust@mofo.com; DSilver@McCarter.com;
  ajoyce@mccarter.com; Jazz Avadel Antitrust <jazzavadelantitrust@quinnemanuel.com>
  Subject: RE: Jazz v. Avadel - Jazz Supplementation

                                         [EXTERNAL EMAIL from anne.thorson@lw.com]



  That works for us. I will circulate a Zoom invitation. Thanks, Nic.


  Anne Nicole Thorson*
  Pronouns: She/Her/Hers

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  *Not admitted to practice in California. Admitted in Illinois and DC.



  From: Nicolas Siebert <nicolassiebert@quinnemanuel.com>
  Sent: Thursday, September 12, 2024 10:54 AM
  To: Thorson, Anne (CC) <Anne.Thorson@lw.com>; Jillian Farley <jillianfarley@quinnemanuel.com>;
  Avi Grunfeld <avigrunfeld@quinnemanuel.com>
  Cc: #C-M AVADEL ANTITRUST - LW TEAM <avadelantitrust.lwteam@lw.com>; MoFo-Avadel-
  Antitrust@mofo.com; DSilver@McCarter.com; ajoyce@mccarter.com; Jazz Avadel Antitrust
  <jazzavadelantitrust@quinnemanuel.com>
  Subject: RE: Jazz v. Avadel - Jazz Supplementation
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  Hey Anne,

  We can do 1 PT/4 ET tomorrow. Please circulate a Zoom if that works for y’all.

  Nic


  From: Anne.Thorson@lw.com <Anne.Thorson@lw.com>
  Sent: Thursday, September 12, 2024 1:05 PM
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  <jillianfarley@quinnemanuel.com>; Avi Grunfeld <avigrunfeld@quinnemanuel.com>
  Cc: avadelantitrust.lwteam@lw.com; MoFo-Avadel-Antitrust@mofo.com; DSilver@McCarter.com;
  ajoyce@mccarter.com; Jazz Avadel Antitrust <jazzavadelantitrust@quinnemanuel.com>
  Subject: RE: Jazz v. Avadel - Jazz Supplementation

                                 [EXTERNAL EMAIL from anne.thorson@lw.com]



  Nic,

  Circling back on your team’s availability to meet and confer regarding the below issues. Please
  provide us with a day and time you are available. Thank you.

  Best,
  Anne


  Anne Nicole Thorson*
  Pronouns: She/Her/Hers

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  From: Nicolas Siebert <nicolassiebert@quinnemanuel.com>
  Sent: Wednesday, September 11, 2024 7:16 AM
  To: Thorson, Anne (CC) <Anne.Thorson@lw.com>; Jillian Farley <jillianfarley@quinnemanuel.com>;
  Avi Grunfeld <avigrunfeld@quinnemanuel.com>
  Cc: #C-M AVADEL ANTITRUST - LW TEAM <avadelantitrust.lwteam@lw.com>; MoFo-Avadel-
  Antitrust@mofo.com; DSilver@McCarter.com; ajoyce@mccarter.com;
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  Subject: RE: Jazz v. Avadel - Jazz Supplementation

  Anne,

  We’ll get back to you on scheduling. Please copy the full Quinn Emanuel team
  (jazzavadelantitrust@quinnemanuel.com) going forward.

  Thanks,

  Nic


  From: Anne.Thorson@lw.com <Anne.Thorson@lw.com>
  Sent: Wednesday, September 11, 2024 10:10 AM
  To: Jillian Farley <jillianfarley@quinnemanuel.com>; Nicolas Siebert
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  ajoyce@mccarter.com; avadelantitrust@quinnemanuel.com
  Subject: Jazz v. Avadel - Jazz Supplementation

                               [EXTERNAL EMAIL from anne.thorson@lw.com]




  Counsel,

  We would like to discuss Jazz’s refusal to produce pre-April 2022 financial data. As you
  know, Jazz has produced structured financial and transaction data only from April 2022
  through December 2023. Avadel has attempted to negotiate with Jazz for production of Jazz’s
  financial and transaction data prior to April 2022 because it is probative of critical issues in
  this litigation, such as the relevant market and the extent of Jazz’s monopoly power in it. See
  July 3, 2024 Ltr. from K. Wu to N. Siebert; August 13, 2024 Ltr. from A. Thorson to N.
  Siebert, at 4. When Jazz asserted that production of such data would be burdensome, Avadel
  offered to consider other data production options that would ease Jazz’s alleged burden, such
  as accepting already-produced data from In re Xyrem (Sodium Oxybate) Antitrust Litig., Case
  No. 3:20-md-02966-RS-SVK. See July 3, 2024 Ltr. from K. Wu to N. Siebert; August 13,
  2024 Ltr. from A. Thorson to N. Siebert, at 4. Avadel’s offer has gone unaccepted and
  unanswered.

  Additionally, Avadel would like to discuss Jazz’s responses and objections to the topics set
  forth in Avadel’s supplemental 30(b)(6) notice.

  Please provide Jazz’s availability to meet and confer regarding these outstanding issues on
  Thursday, September 12 at 8am, 10am-1:30pm, or 2pm-3pm ET.

  Best,

  Anne Nicole Thorson*
  Pronouns: She/Her/Hers
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  _________________________________

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                                CERTIFICATE OF SERVICE

         The undersigned counsel hereby certifies that true and correct copies of the foregoing

 document were caused to be served on September 19, 2024 on the following counsel in the manner

 indicated below.

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  Dated: September 19, 2024                 /s/ Daniel M. Silver
                                            Daniel M. Silver (#4758)




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